                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA
                                                                                 3:17-CR-00285
              V.
                                                                  Honorable Alvin W. Thompson
       WILLIAM FUSCO



                       MOTION FOR CHANGE OF BOP DESIGNATION

       William Fusco, through his counsel, Evan T.L. Hughes, respectfully request the Court to
continue the defendant’s self surrender to the Federal Bureau of Prisons, FCI Fairton, 655
Fairton-Millville Road, Fairton, NJ 08320 for 14 days to get the necessary paperwork in order for
acceptance into the aforementioned BOP facility.




                                                                         Respectfully Submitted,




                                                               __________________________
                                                                              Evan T.L. Hughes
                                                                                      ID: 93214
                                                                              Hughes Firm, LLC
                                                                  1845 Walnut Street, Suite 932
                                                              Philadelphia, Pennsylvania 19103
                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA
                                                                                3:17-CR-00285
              V.
                                                                 Honorable Alvin W. Thompson
       WILLIAM FUSCO



                                            ORDER

       Upon the motion of the defendant, through his counsel, Evan T.L. Hughes, respectfully
requesting a continuance in his self surrender to the Federal Bureau of Prisons, it is hereby
ORDERED​ that this continuance of surrender date is ​GRANTED​ as it is in the best interest of
the public and the defendant for the reasons outlined in the motion.
       SO ORDERED



Date: March 28, 2019

                                                         _______________________________
                                                                Honorable Alvin W. Thompson
